         CASE 0:08-cr-00063-JRT-JSM       Doc. 122     Filed 11/04/10   Page 1 of 1

                         UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
   _______________________________________________________________________

    UNITED STATES OF AMERICA,
                                                       Criminal No. 08-063(1) (JRT/JSM)
                                      Plaintiff,

    v.
                                                                   ORDER
    CAROLYN M. LOUPER-MORRIS,

                            Defendant.
   _______________________________________________________________________


         Timothy Rank and David Genrich, Assistant United States Attorneys,
         OFFICE OF THE UNITED STATES ATTORNEY, 300 South Fourth
         Street, Suite 600, Minneapolis, MN 55415, for plaintiff.

         Paul Edlund, ATTORNEY AT LAW, 212 Third Avenue North, Suite 545,
         Minneapolis, MN 55401, for defendant.


         Defendant has filed a motion for release from custody pending appeal [Docket No.

121]. IT IS HEREBY ORDERED that the government shall respond to the said motion

by November 18, 2010.


DATED: November 4, 2010
at Minneapolis, Minnesota.                            __ s/ John R. Tunheim
                                                        JOHN R. TUNHEIM
                                                     United States District Judge
